     Case 2:13-cr-06070-SAB     ECF No. 109       filed 08/21/24   PageID.359           Page 1 of
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                                                                             FILED IN THE
                                                                         U.S. DISTRICT COURT
                                                                   EASTERN DISTRICT OF WASHINGTON

 1
                                                                   Aug 21, 2024
 2                                                                      SEAN F. MCAVOY, CLERK

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 4
 5                          UNITED STATES DISTRICT COURT
 6                         EASTERN DISTRICT OF WASHINGTON
 7
 8 UNITED STATES OF AMERICA,
 9            Plaintiff,                            No. 2:13-CR-06070-SAB-1
10            v.
11 KENNETH RICHARD ROWELL,                          ORDER APPOINTING CJA
12            Defendant.                            COUNSEL; REFERRING
13                                                  MATTER TO MAGISTRATE
14                                                  JUDGE EKSTROM
15
16
17        Before the Court is Defense Counsel’s Ex Parte Motion for Withdrawal and
18 Appointment of Counsel, ECF No. 108. The Government is represented by
19 Brandon Pang. Defendant is represented by Craig D. Webster. The motion was
20 considered without oral argument.
21        Defense Counsel notified the Court of a conflict in representing Mr. Rowell
22 in this matter. Therefore, the Court now Orders Appointment of CJA Counsel for
23 Mr. Rowell.
24 //
25 //
26 //
27 //
28 //
     ORDER APPOINTING CJA COUNSEL; REFERRING MATTER TO MAGISTRATE
     JUDGE EKSTROM # 1
     Case 2:13-cr-06070-SAB    ECF No. 109       filed 08/21/24   PageID.360   Page 2 of
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 1        Accordingly, IT IS HEREBY ORDERED:
 2        1.    This matter is referred to Magistrate Judge Ekstrom for appointment
 3 of CJA Counsel.
 4        2.    The Clerk of Court shall TERMINATE Mr. Webster as designated
 5 counsel for Defendant.
 6        3.    Defense Counsel’s Ex Parte Motion for Withdrawal and Appointment
 7 of Counsel, ECF No. 108, is GRANTED.
 8        IT IS SO ORDERED. The District Court Clerk is hereby directed to enter
 9 this Order and provide copies to counsel and Magistrate Judge Ekstrom.
10        DATED this 21st day of August 2024
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                                    Stanley A. Bastian
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                              Chief United States District Judge
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     ORDER APPOINTING CJA COUNSEL; REFERRING MATTER TO MAGISTRATE
     JUDGE EKSTROM # 2
